Case 4:17-cv-01372 Document 89 Filed on 07/24/19 in TXSD Page 1 of 2

United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W. CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 115
NEW ORLEANS, LA 70130

July 24, 2019
United States Courts

Southern District of Texas

Mr. Robert Kelsey Kry FILED

Molo Lamken, L.L.P. July 24, 2019

600 New Hampshire Avenue, N.W.

Suite 660 David J. Bradley, Clerk of Court

Washington, DC 20037

No. 19-20244 Robert Edgar v. Anadarko Petroleum
Corporation, et al
USDC No. 4:17-CV-1372

Dear Mr. Kry,

Attached is a revised case caption, which should be used on all
future filings in this case. The word Counsel was corrected to
Council in the appellants name.

Sincerely,
LYLE W. CAYCE, Clerk
By

Casey A. Sullivan, Deputy Clerk
504-310-7642

 

cc:
Mr. David J. Bradley
Ms. Jennifer Melien Brooks Crozier
Mr. Ronald Dean Gresham
Mr. Thomas Ray Guy
Mr. Jay B. Kasner
Mr. Phillip Kim
Mr. Marlon E. Kimpson
Mr. Joshua C. Littlejohn
Mr. Steven Francis Molo
Ms. Michelle Joyce Parthum
Ms. Shelby Taylor Perry
Ms. Noelle M. Reed
Ms. Laura Kirstine Rogers
Mr. Laurence Rosen
Ms. Susan Saltzstein
Mr. Bruce W. Stecklier
Case 4:17-cv-01372 Document 89 Filed on 07/24/19 in TXSD Page 2 of 2

Case No. 19-20244

TRON WORKERS BENEFIT AND PENSION FUND - IRON WORKERS DISTRICT
COUNCIL PHILADELPHIA & VICINITY, individually and on behalf of
all other persons similarly situated,

Plaintiff - Appellant

V.

ANADARKO PETROLEUM CORPORATION; R. A. WALKER; DAVID J. MCBRIDE;
JOHN M. CHRISTIANSEN,

Defendants - Appellees
